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Case 19-06102-RLM-13   Doc   Filed 11/08/19   EOD 11/08/19 10:19:53   Pg 2 of 5
           Case 19-06102-RLM-13        Doc       Filed 11/08/19     EOD 11/08/19 10:19:53     Pg 3 of 5
Sottile & Barile, LLC
394 Wards Corner Road, Suite 180
Loveland, OH 45140
accounting@sottileandbarile.com
www.sottileandbarile.com



INVOICE
BILL TO                                                                            INVOICE #
Home Point Financial                                                                   DATE 10/24/2019
Corporation
ATTN: PAYMENT
PROCESSING
11511 Luna Road
2nd and 3rd Floors
Farmers Branch, TX 75234


S&B FILE NUMBER



DESCRIPTION                                                                  QTY              RATE        AMOUNT

Elliott, Jason / Heather -         - Proof of Claim and plan                   1             650.00        650.00
review
Elliott, Jason / Heather           - 410A prep                                 1             250.00        250.00


                                                               BALANCE DUE
                                                                                                      $900.00
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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 In Re:                                            Case No. 19-06102-RLM-13

 Jason Bradley Elliott
   aka Elliott Home Daycare LLC
 Heather Marie Elliott                             Chapter 13
   fka Heather Marie Hudson
   aka Elliott Home Daycare LLC

 Debtors.                                          Judge Robyn L. Moberly

                                  CERTIFICATE OF SERVICE

I certify that on November 8, 2019, a copy of the foregoing Notice of Postpetition Mortgage
Fees, Expenses, and Charges was filed electronically. Notice of this filing will be sent to the
following party/parties through the Court’s ECF System. Party/parties may access this filing
through the Court’s system:

          Jennifer Fujawa Asbury, Debtors’ Counsel
          ecf@johnsteinkampandassociates.com

          John Morgan Hauber, Trustee
          ecfmail@hauber13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on November 8, 2019, a copy of the foregoing Notice of Postpetition
Mortgage Fees, Expenses, and Charges was mailed by first-class U.S. Mail, postage prepaid and
properly addressed to the following:

          Jason Bradley Elliott, Debtor
          822 Boulder Road
          Indianapolis, IN 46217
Case 19-06102-RLM-13      Doc       Filed 11/08/19   EOD 11/08/19 10:19:53    Pg 5 of 5



    Heather Marie Elliott, Debtor
    822 Boulder Road
    Indianapolis, IN 46217


                                             Respectfully Submitted,

                                             /s/ Molly Slutsky Simons
                                             Molly Slutsky Simons (OH 0083702)
                                             Sottile & Barile, Attorneys at Law
                                             394 Wards Corner Road, Suite 180
                                             Loveland, OH 45140
                                             Phone: 513.444.4100
                                             Email: bankruptcy@sottileandbarile.com
                                             Attorney for Creditor
